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Having reviewed the filings in this case, the full Commission is of the opinion that there is a prima facie showing of a meritorious basis for defendant's appeal to the full Commission and that, in the interest of justice and based on the Commission's inherent power to supervise its judgments, Hogan v. Cone Mills Corp., 315 N.C. 127, 337 S.E.2d 477
(1985), and, further, based on excusable neglect of counsel in responding to a recently implemented Commission procedure for service of deputy commissioner opinions by facsimile transmission, the full Commission hereby GRANTS the relief requested and orders that this case be set for hearing before a panel of the full Commission, which will render a decision on the merits of the case.
This case is referred to the Dockets Section of the Commission for ordering transcripts and further scheduling pursuant to Commission procedure.
                                   S/______________ RENE C. RIGGSBEE COMMISSIONER
CONCURRING:
  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
  S/____________ BUCK LATTIMORE CHAIRMAN